              Case 2:10-cr-00437-WBS Document 179 Filed 03/29/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     MICHAEL LEONARD LOVATO
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-10-437 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     AMADOR ELI ROSALES, et al.,                     )       Date: May 7, 2012
                                                     )       Time: 9:30 a.m.
13
                                                     )       Judge: Honorable William B. Shubb
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
16

17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19   Michael Leonard Lovato, John R. Manning, Esq., counsel for defendant Jonathan Gonzalez,

20   Danny D. Brace, Jr., Esq., counsel for defendant Andre Kovacs, Erin J. Radekin, Esq., counsel

21   for defendant Tony Rosales, Dan F. Koukol, Esq., counsel for defendant Adrianna Cano, Mark J.

22   Reichel, Esq., and counsel for defendant Derick Noble, Timothy E. Warriner, Esq., that the status

23   conference presently set for April 2, 2012 be continued to May 7, 2012, at 9:30 a.m., thus

24   vacating the presently set status conference.

25          Defense counsel requires additional time to review the voluminous discovery and

26   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of

27   justice served by granting this continuance outweigh the best interests of the defendants and the

28   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for



                                                         1
              Case 2:10-cr-00437-WBS Document 179 Filed 03/29/12 Page 2 of 3



 1   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
 2   the order until the date of the status conference, May 7, 2012.
 3   IT IS SO STIPULATED.
     Dated: March 28, 2012                                          /s/ John R. Manning
 4
                                                                   JOHN R. MANNING
 5                                                                 Attorney for Defendant
                                                                   Michael Leonard Lovato
 6
     Dated: March 28, 2012                                          /s/ Danny D. Brace, Jr.
 7
                                                                   DANNY D. BRACE, JR.
 8                                                                 Attorney for Defendant
                                                                   Jonathan Gonzalez
 9

10
     Dated: March 28, 2012                                         /s/ Erin J. Radekin
                                                                   ERIN J. RADEKIN
11                                                                 Attorney for Defendant
                                                                   Andre Kovacs
12

13
     Dated: March 28, 2012                                         /s/ Dan F. Koukol
                                                                   DAN F. KOUKOL
14                                                                 Attorney for Defendant
                                                                   Tony Rosales
15

16   Dated: March 28, 2012                                         /s/ Mark J. Reichel
                                                                   MARK J. REICHEL
17                                                                 Attorney for Defendant
                                                                   Adrianna Cano
18

19   Dated: March 28, 2012                                         /s/ Timothy E. Warriner
                                                                   TIMOTHY E. WARRINER
20                                                                 Attorney for Defendant
                                                                   Derick Noble
21

22   Dated: March 28, 2012                                         Benjamin B. Wagner
                                                                   United States Attorney
23
                                                           by:     /s/ Jill M. Thomas
24
                                                                   JILL M. THOMAS
25                                                                 Assistant U.S. Attorney

26
                                                  ORDER
27
            The Court, having received, read, and considered the stipulation of the parties, and good
28
     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based


                                                       2
              Case 2:10-cr-00437-WBS Document 179 Filed 03/29/12 Page 3 of 3


     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
 1
     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
 2
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
 3
     failure to grant a continuance in this case would deny defense counsel to this stipulation
 4
     reasonable time necessary for effective preparation, taking into account the exercise of due
 5
     diligence. The Court finds that the ends of justice to be served by granting the requested
 6   continuance outweigh the best interests of the public and the defendants in a speedy trial.
 7          The Court orders that the time from the date of the parties' stipulation, March 28, 2012, to
 8   and including May 7, 2012, shall be excluded from computation of time within which the trial of
 9   this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)

10
     and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to prepare). It is
     further ordered that the April 2, 2012, status conference shall be continued until May 7, 2012, at
11
     9:30 a.m.
12

13

14   IT IS SO ORDERED.
     Dated:      March 29, 2012
15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                       3
